                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:10-cr-10
vs.                                                 )
                                                    )       JUDGE COLLIER
BRUCE ALLEN JONES                                   )



                               MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on August 23, 2013, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
Warrant for Offender Under Supervision (Petition) of Supervising U.S. Probation Officer Janet
Landers and the Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present
for the hearing included:

              (1) AUSA Terra Bay for the USA.
              (2) Defendant BRUCE ALLEN JONES.
              (3) Attorney Anthony Martinez for defendant.
              (4) Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified
for the appointment of an attorney to represent him at government expense. Federal Defender
Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was
determined the defendant had been provided with a copy of the Petition and the Warrant for
Arrest and had the opportunity of reviewing those documents with his attorney. It was also
determined the defendant was capable of being able to read and understand the copy of the
aforesaid documents he had been provided.

       Defendant waived his right to a preliminary hearing and detention hearing.

       AUSA Bay moved defendant be detained pending a hearing to determine whether his
term of supervision should be revoked.

                                            Findings

       (1) Based upon Supervising U.S. Probation Officer Janet Landers’ petition and

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      defendant=s waiver of preliminary hearing and detention hearing, the undersigned
      finds there is probable cause to believe defendant has committed violations of his
      conditions of supervised release as alleged in the petition.

                                        Conclusions

      It is ORDERED:

      (1) The defendant shall appear in a revocation hearing before U.S. District
      Judge Curtis L. Collier.

      (2) The motion of AUSA Bay that defendant be DETAINED WITHOUT BAIL
      pending his revocation hearing before Judge Collier is GRANTED.

      (3) The U.S. Marshal shall transport defendant to a revocation hearing before
      Judge Collier on Thursday, September 12, 2013, at 2:00 pm.

      ENTER.

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                                           UNITED STATES MAGISTRATE JUDGE




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